978 F.2d 1256
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Joseph RUTH, Plaintiff-Appellant,v.Wilhelminia BROWN;  John Sandstrom;  Thomas R. Corcoran, intheir individual and official capacities,Defendants-Appellees.
    No. 92-6692.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  September 28, 1992Decided:  October 23, 1992
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.
      Joseph Ruth, Appellant Pro Se.
      John Joseph Curran, Jr., Attorney General, Audrey J. S. Carrion, Office of the Attorney General of Maryland, Baltimore, Maryland, for Appellees.
      D.Md.
      DISMISSED.
      Before WILKINSON, NIEMEYER, and LUTTIG, Circuit Judges.
      PER CURIAM:
    
    
      1
      Joseph Ruth appeals the district court's order granting Defendants' Motion for Protective Order.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. § 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C.s 1292 (1988);  Fed.  R. Civ. P. 54(b);   Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    